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    IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH

                                     CENTRAL DIVISION


JOSE MORENO, Individually, and on                     ORDER GRANTING STIPULATED
Behalf of All Others Similarly Situated,              MOTION EXTENDING TIME TO
                                                      RESPOND TO COMPLAINT
                   Plaintiff,

       v.                                             Case No. 2:18-cv-00510-JNP-PMW

POLARITYTE, INC.; DENVER LOUGH;                       District Judge Jill N. Parrish
and JEFF DYER,
                                                      Chief Magistrate Judge Paul M. Warner
                   Defendants.


       Pursuant to the stipulation of the parties, and for good cause appearing, Defendants’

response to the Complaint shall not be due until after this court appoints a lead plaintiff and lead

counsel, lead plaintiff serves or designates an operative complaint, and the parties agree to a

schedule for Defendants to respond to the operative complaint and a schedule for any anticipated

briefing.

       IT IS SO ORDERED.

       DATED this 31st day of July, 2018.

                                              BY THE COURT:



                                              ______________________________
                                              PAUL M. WARNER
                                              Chief United States Magistrate Judge
